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             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :

             v.                            :   CRIMINAL NO. 29-548

DIMITRE HADJIEV                            :


                                    ORDER


      AND NOW, this _______ day of November, 2022, upon consideration of

the Government’s Motion To Dismiss Counts 9, 16, 18, 20, 22 and 23 from the

Second Superseding Indictment and to correct typographical errors in the number

of two counts (duplicate Counts 10 and 11), it is hereby ORDERED, pursuant to

Federal Rule of Criminal Procedure 48(a), that Counts 9, 16, 18, 20 and 22 are

dismissed from the Second Superseding Indictment in this case.

      IT IS FURTHER ORDERED that the counts of the Second Superseding

Indictment shall be renumbered to remove the dismissed counts and correct the

typographical errors in the duplicate numbering of Counts 10 and 11 in the Second

Superseding Indictment, so that the counts shall be renumbered as listed below.
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Original Count   Renumbered Count
10 (first)       9
11 (first        10
10 (second)      11
11 (second)      12
12               13
13               14
14               15
15               16
17               17
19               18
21               19
24               20


                                  BY THE COURT:




                                  HONORABLE CYNTHIA M. RUFE
                                  Judge, United States District Court




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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :

               v.                               :   CRIMINAL NO. 19-548

DIMITRE HADJIEV                                 :


GOVERNMENT=S MOTION TO CORRECT TYPOGRAPHICAL ERRORS
     IN, AND TO DISMISS COUNTS 9, 16, 18, 20, 22 AND 23
      FROM, THE SECOND SUPERSEDING INDICTMENT

      The United States of America, by and through its attorneys, Jacqueline C.

Romero, United States Attorney for the Eastern District of Pennsylvania, and K.T.

Newton, Assistant United States Attorney for the District, respectfully moves this

Court, pursuant to Federal Rule of Criminal Procedure 48(a), to dismiss Counts 9,

16, 18, 20, 22 and 23 of the Second Superseding Indictment in this case.             In

support of this motion, the government states as follows:

      1.     On September 17, 2019, the grand jury in the Eastern District of

Pennsylvania returned an indictment charging defendant Dimitre Hadjiev with:

in Count 1, money laundering - sting, in violation of 18 U.S.C. ' 1956(a)(3); Count

2, failure to file record of financial transaction, in violation of 31 U.S.C. '

5324(b)(1); and Count 3, structuring of financial transactions, in violation of 31

U.S.C. ' 5324(a)(3).
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      2.      On November 19, 2019, the grand jury issued a superseding

indictment. Counts One through Three of the new indictment carried over the

original charges. In addition, that pleading added one substantive attempted

trafficking in counterfeit goods charge (Count Four) All of the counts of the

Superseding Indictment named Hadjiev as a defendant.

      3.      On March 4, 2021, the grand jury issued a second superseding

indictment.    Counts One through Four of the new indictment carried over the

charges from the superseding indictment.      In addition, the pleading added 22

substantive counts: 21 counts of structuring of financial transactions, in violation

of 31 U.S.C. '' 5324(a)(1) and (d)(2) (Counts 5 through 23); and one count of

structuring of financial transactions, in violation of 31 U.S.C. '' 5324(a)(3) and

(d)(2) (Count 24).   The counts were not numbered correctly, however, as there

were duplicate Counts 10 and 11.

      4.      The government has elected not to pursue six of the substantive

money laundering counts of the second superseding indictment brought under 18

U.S.C. § 1956(a)(1). Therefore, the government moves the Court to dismiss Counts

Seven, Eight, Nine, and Ten from the Second Superseding Indictment.             The

government is not moving to dismiss any other charges or the forfeiture notices.

      5.      The government also asks the Court to renumber counts in the Second

Superseding Indictment as listed below, to correct the typographical error in the

duplicate numbering of Counts 10 and 11 and so that the numbering of the second

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superseding indictment after the dismissal of the counts will be continuous.

Original Count    Renumbered Count
10 (first)        9
11 (first         10
10 (second)       11
11 (second)       12
12                13
13                14
14                15
15                16
17                17
19                18
21                19
24                20


      6.    This request is made pursuant to this Court’s authority to make

amendments to indictments “concerning matters of form,” but not to substance.

Russell v. United States, 369 U.S. 749, 770 (1962); United States v. Goldstein, 502

F.2d 526, 528 (3d Cir.1974). “An amendment of form and not of substance occurs

when the defendant is not misled in any sense, is not subjected to any added

burden, and is not otherwise prejudiced.” United States v. Kegler, 724 F.2d 190,

194 (D.C. Cir.1983) (citing Williams v. United States, 179 F.2d 656, 659 (5th

Cir.1950)). Renumbering is clearly a matter of form.




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      Wherefore, for the reasons stated above, the government requests that,

pursuant to Federal Rule of Criminal Procedure 48(a), this Court dismiss Counts

9, 16, 18, 20, 22 and 23 of the Second Superseding Indictment in this case, and

renumber the remaining counts.


                                  Respectfully submitted,

                                  JACQUELINE C. ROMERO
                                  United States Attorney

                                  /s/ K.T. Newton
                                  K.T. NEWTON
                                  Assistant United States Attorneys
Dated:    November 12, 2022




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                        CERTIFICATE OF SERVICE

      K.T. Newton, Assistant United States Attorney, represents that he caused

the foregoing Government’s Motion To Dismiss Counts and Correct

Typographical Errors and proposed Order to be served by electronic filing on the

Court’s Electronic Case Filing system on the following counsel:

                         Daniel Cevallos, Esquire
                         Peter J. Scuderi, Esquire
                         Daniel Pell, Esquire
                         Attorneys for defendant Dimitre Hadjiev



                                        /s/ K.T. Newton
                                       K.T. Newton
                                       Assistant United States Attorney




Dated: November 10, 2022




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